Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 1 of 48 PageID 7512


                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


     NAVY SEAL 1, et al.,

           Plaintiffs,

     v.                                               CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     ___________________________________/


                         PRELIMINARY INJUNCTION AND ORDER

           Here is the short version: Expressly applicable to each branch of the federal

     government, the Religious Freedom Restoration Act (RFRA) commands the military

     to grant to a service member harboring a sincerely held religious objection to

     COVID-19 vaccination a religious exemption from the vaccination (1) unless a com-

     pelling governmental interest requires the vaccination and (2) unless a good faith

     evaluation, directed specifically to the singular circumstances of the service member

     — that is, directed “to the person” requesting the exemption — demonstrates that no

     less restrictive means is available to the military reasonably to protect the compelling

     governmental interest. Under the command of RFRA, the military bears the burden

     of showing both the existence of a compelling governmental interest and the absence

     of a less restrictive means of reasonably protecting that interest. In the instance of

     Navy Commander and Lieutenant Colonel 2, the Navy and the Marine Corps have

     failed manifestly to offer the statutorily required demonstration that no less restrictive
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 2 of 48 PageID 7513



     means is available, and each of the two service members is entitled to preliminary in-

     junctive relief that (1) permits them, pending a final determination on a complete rec-

     ord, to continue to serve without the vaccination and (2) forbids any punitive or re-

     taliatory measure against either by the military pending a final judgment in this ac-

     tion. The long version follows.

                                            BACKGROUND

            Harboring a sincere religious objection to COVID-19 vaccination and denied a

     religious exemption, Navy Commander Surface Warfare Officer and Lieutenant

     Colonel 2 (each appearing pseudonymously) move (Doc. 60) for injunctive relief

     against the military. The defendants oppose (Docs. 23 and 74) the motion. Two or-

     ders (Docs. 67 and 85) preserve the status quo for Navy Commander and Lieutenant

     Colonel 2 pending resolution of a motion for preliminary injunction on behalf of

     Navy Commander, Lieutenant Colonel 2, the service members appearing in this ac-

     tion, and a putative class comprising service members in each branch of the military.

                                    I. PROCEDURAL POSTURE

            On October 15, 2021, several service members in each branch of the military

     sued on behalf of a putative class and promptly moved to preliminarily enjoin and to

     temporarily restrain military directives and executive orders requiring COVID-19

     vaccination. 1 An October 18, 2021 scheduling order (Doc. 9) states that the plaintiffs




            The original complaint includes as plaintiffs federal employees, federal contractors, and the
            1

     employees of federal contractors, but a February 12, 2022 order (Doc. 89) severs the non-service
     members.
                                                     -2-
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 3 of 48 PageID 7514



     may move in an exigent circumstance for relief on behalf of an individual member of

     the putative class.

            After a hearing on the motion for a preliminary injunction, a November 22,

     2021 order (Doc. 40) defers resolution of the service members’ claims under RFRA

     and the First Amendment because each service-member plaintiff remained temporar-

     ily exempt from the COVID-19 vaccination requirement pending resolution of a re-

     quest for a religious exemption and the resolution of any appeal. 2 The order

     (Doc. 40) requires, among other things, that the defendants submit every fourteen

     days beginning January 7, 2022, a notice containing information about, among other

     things, the number of requests for religious and other exemptions and the number of

     requests denied after appeal (this reporting requirement was terminated recently).

     According to the February 4, 2022 notice (Doc. 73), the Navy has denied 81 appeals

     and granted none, the Marine Corps has denied 119 appeals and granted 3, and the

     Air Force has denied 443 appeals and granted 1 appeal (and granted 8 initial re-

     quests).

            On January 20, 2022, the plaintiffs moved (Doc. 49) to amend the complaint

     to remove President Biden as a defendant, to add as a defendant the head of each

     branch of the military, to add claims under the APA, and to add plaintiffs. On Janu-

     ary 21, 2022, the plaintiffs submitted (Doc. 51) a supplemental memorandum in sup-

     port of a preliminary injunction on behalf of the putative class of service members.



            2
             The order (Doc. 40) denies the motion on the service members’ “informed consent” claim
     under 10 U.S.C. § 1107a.
                                                  -3-
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 4 of 48 PageID 7515



           On February 1, 2022, the plaintiffs moved (Doc. 60) for emergency injunctive

     relief on behalf of Navy Commander and Lieutenant Colonel 2, each denied a reli-

     gious exemption after a final appeal and each ordered to accept COVID-19 vaccina-

     tion within five days. A February 2, 2022 order (Doc. 67) schedules for February 10,

     2022, a hearing on further preliminary relief resulting from the emergency motion

     and enjoins through February 11, 2022, the military’s diminishing or altering the cur-

     rent status of these two service members. At the February 10, 2022 hearing, the ser-

     vice members testified, and the defendants filed (Doc. S-91) additional items from

     the administrative record. To permit review of the administrative record; to preserve

     the status quo; to permit a reasonable time to evaluate the issues presented during the

     February 10, 2022 hearing; and for other good cause shown, a February 11, 2022 or-

     der (Doc. 85) extends the February 2, 2022 order’s injunctive relief through February

     18, 2022. Also, a February 13, 2022 order (Doc. 90) requires the defendants to sub-

     mit for each of the Navy, Marines, and Air Force (1) each letter or memorandum

     granting a religious exemption (whether granted initially or after appeal), (2) the

     twenty-five most recent denials after appeal and the underlying denial of the initial

     request, (3) for each grant or denial the service member’s initial request and the ser-

     vice member’s written submission beginning the appeal, and (4) anything else the de-

     fendants elect to submit in an effort to meet their statutory burden of proof.

                                       II. THE RECORD

           On August 23, 2021, the FDA licensed Pfizer’s COVID-19 vaccine. The next

     day, the Secretary of the Department of Defense directed each branch to require of

                                               -4-
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 5 of 48 PageID 7516



     every service member “full vaccination” against COVID-19. (Doc. 1-4 at 1) The

     secretary’s memorandum states that “the Military Departments should use existing

     policies and procedures to manage mandatory vaccination of [s]ervice members to

     the extent practicable” and that the vaccination requirement “will be subject to any

     identified contraindications and any administrative or other exemptions established

     in Military Department policy.” (Doc. 1-4 at 1)

     A.     Religious exemptions in the Navy and the Marine Corps

            Each branch of the military has promulgated a process for a service member to

     request a religious, medical, or administrative exemption from COVID-19 vaccina-

     tion. In general, each branch temporarily exempts a service member from the

     COVID-19 vaccination requirement pending resolution of a request and of any ap-

     peal. If the appeal results in denial, each branch requires the service member —

     within only five days — to decide the life-altering question whether to accept

     COVID-19 vaccination or face discharge for disobeying an order. Specifically, if the

     service member fails to accept COVID-19 vaccination within the allotted five days,

     the branch considers the service member in violation of a lawful order and the com-

     mander reports the service member for discharge or other punishment based on the

     charge of misconduct, moral or professional dereliction, and substandard perfor-

     mance. (Of course, the typical service member cannot as a practical matter obtain

     judicial relief on only five days’ notice.)




                                                   -5-
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 6 of 48 PageID 7517



           1. Religious exemption in the Navy

           Under BUPERINST 1730.11A, a sailor requesting a religious exemption from

     COVID-19 vaccination must interview with a Navy chaplain, who decides whether

     to recommend the service member’s religious objection as sincere. (Doc. 23-18 ¶ 14)

     Next, the sailor submits an exemption request to the service member’s commander.

     (Doc. 23-18 ¶ 14) Within seven days after receiving an exemption request, the com-

     mander must prepare in accord with MILSPERMAN 1730-020 an endorsement

     identifying “(1) the negative effect (if any) of the requested accommodation on the

     unit’s military readiness, health, or safety; (2) the number of service members in the

     command that have been granted a similar exemption; and (3) when recommending

     a denial, a determination that the denial furthers a compelling government interest

     and there is no less restrictive means of accommodating the request.” (Doc. 23-18

     ¶ 14.b) After receiving the commander’s endorsement, the Chief of Naval Personnel

     resolves the request within sixty days. (Doc. 23-18 ¶ 14.b)

           If the request is denied, the sailor can appeal to the Chief of Naval Operations.

     (Doc. 23-18 ¶ 14.b) Under NAVADMIN 256/21, if the Chief of Naval Operations

     (or other adjudicating authority) denies the appeal, the sailor must accept COVID-19

     vaccination within five days. (Doc. 23-18 ¶ 15) Under NAVADMIN 225, if the

     sailor fails to accept COVID-19 vaccination within five days, the sailor is “refusing

     the vaccine” and must “be processed for administrative separation” under the Navy’s

     Covid Consolidated Disposition Authority. (Doc. 23-18 ¶ 15) Under NAVADMIN

     225/21, an officer refusing the vaccine “is processed for separation on the bases of

                                               -6-
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 7 of 48 PageID 7518



     Misconduct, Moral or Professional Dereliction, and substandard Performance.” A

     non-probationary officer refusing the vaccine is entitled to a Board of Inquiry hear-

     ing, during which three or more senior officers recommend retention or separation.

     (Doc. 23-18 ¶ 17.b)

           In the February 4, 2022 notice (Doc. 73), the Navy reports receiving 4,095 re-

     quests for a religious exemption from COVID-19 vaccination. (Doc. 73-3 at 3) The

     Navy has denied 3,728 initial requests — 93% of all pending requests — and granted

     no initial request. Of these 3,728 denials, 1,303 sailors have appealed. The Navy has

     denied 81 appeals and granted none. The Navy has reportedly separated 240 sailors

     who requested a religious exemption from COVID-19 vaccination.

           Although the defendants report an inability to quantify the number of requests

     for, or denials of, a temporary or permanent medical exemption (Doc. 34-2 at 3–4),

     the Navy reports 252 active temporary medical exemptions, which require renewal

     every thirty days (Doc. 34-2 at 4), and 11 permanent medical exemptions.

     (Doc. 73-2 at 3) The number of active temporary medical exemptions has fallen

     since November 10, 2021, when the Navy reported 698 active temporary medical ex-

     emptions. (Doc. 34-2 at 4)

           2. Religious exemption in the Marine Corps

           Under Marine Corps Order 1730.9, a Marine requesting a religious exemption

     from COVID-19 vaccination must complete a religious exemption form, NAVMC

     10274 AA. (Doc. 23-19 Ex. A ¶ 4.a) Next, the Marine interviews with a chaplain,

     “who assesses whether the [applicant’s] beliefs appear sincerely held.” (Doc. 23-19

                                              -7-
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 8 of 48 PageID 7519



     ¶ 12.a) The chaplain routes the assessment to the applicant’s commander, who

     routes the application through the chain of command to the Deputy Commandant,

     Manpower and Reserve Affairs. (Doc. 23-19 ¶ 12.a)

           The Deputy Commandant reviews the application and consults with a staff

     judge advocate and the Religious Accommodation Board. (Doc. 23-19 ¶ 12.c) Un-

     der Marine Corps Order 1730.9, the Religious Accommodation Board, comprising at

     least three voting members and a recorder, a legal advisor, and a chaplain advisor,

     reviews each request for a religious exemption, writes an assessment of the request,

     and recommends granting, granting-in-part, or denying the request. Marine Corps

     Order 1730.9 requires the Deputy Commandant to resolve each request “on a case-

     by-case basis” and to “articulate the factual basis underlying their decision.” Under

     the regulations, the reviewing authority can deny the request only if “there is no

     lesser restrictive means to furthering” a “compelling government interest.”

     (Doc. 23-19 ¶ 12.a–b)

           The Deputy Commandant resolves the request within sixty days. (Doc. 23-19

     Ex. A ¶ 4.b) The Marine receives written notice of the decision and, if applicable,

     “any conditions or limitations placed on the approval to meet the compelling govern-

     mental interest in mission accomplishment.” (Doc. 23-19 Ex. A ¶ 4.b.4) If the re-

     quest is denied, the Marine can appeal to the Commandant of the Marine Corps,

     who issues a final decision. (Doc. 23-19 Ex. A ¶ 4.c)

           If the Commandant denies the appeal (or if the Marine declines to appeal), the

     Marine receives an order to begin COVID-19 vaccination within five days. Under

                                              -8-
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 9 of 48 PageID 7520



     MARADMIN 612/21, if the Marine fails to timely begin COVID-19 vaccination,

     the Marine has “refused the vaccine” and is reported for administrative separation

     based on misconduct, moral or professional dereliction, and substandard Perfor-

     mance.

           As of February 3, 2022, the Marine Corps reports receiving 3,539 initial re-

     quests for a religious exemption. (Doc. 73-4 at 3) The Marine Corps has denied

     3,458 initial requests — 98% of all pending requests — and granted none. In 1,272

     denials, the requestor appealed. The Marine Corps has adjudicated 122 appeals and

     granted 3 exemptions on appeal.

           Like the Navy, the Marine Corps has begun the administrative separation of

     a Marine who, after denial of the appeal, fails to accept COVID-19 vaccination. As

     of February 3, 2022, the Marine Corps has reportedly separated two Marines who

     were denied a religious exemption to COVID-19 vaccination and has reportedly ini-

     tiated the separation of seven more Marines who were denied a religious exemption

     to COVID-19 vaccination.

           The Marine Corps, like the Navy, reports an inability to present the number of

     requests for, or denials of, a temporary or permanent medical exemption from a vac-

     cine. (Doc. 47-4 at 2) The Marine Corps reports 232 active temporary and 21 active

     permanent medical exemptions from COVID-19 vaccination. (Doc. 73-4 at 3) The

     number of active temporary medical exemptions has decreased since January 7,

     2022, when the Marine Corps reported 419 active temporary medical exemptions.

     (Doc. 47-4 at 6)

                                             -9-
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 10 of 48 PageID 7521



      B.    Findings of fact from the evidentiary hearing

            The following findings of fact result from my assessment of Navy Commander

      and Lieutenant Colonel 2’s credibility during an evidentiary hearing and from my re-

      view of the declarations, exhibits, and other items in the record.

            1. Navy Commander

            Navy Commander serves as the commanding officer of a guided missile de-

      stroyer. (Doc. 60-1 ¶ 2) Navy Commander joined the Navy in 2004 and has served

      for more than seventeen years. (Doc. 60-1 ¶ 4) Over the course of those seventeen

      years, the Navy entrusted Navy Commander with increasing levels of responsibility.

      After completing several tours of duty and graduating nuclear power school, Navy

      Commander commands a surface warfare vessel with a crew of 320. Because of the

      required nuclear education and experience, few service members are as qualified as

      Navy Commander to direct a surface vessel. From January 2020 to March 2021,

      from the onset of COVID-19, through the height of the pandemic, and without a vac-

      cine (and certainly before the FDA fully authorized a COVID-19 vaccine), Navy

      Commander conducted successful operations, including a voyage exceeding 300

      days, while adhering to COVID-19 safety protocols, including masking, sanitizing,

      physical distancing, COVID-19 testing, and quarantining. (Doc. 60-1 ¶¶ 12-13)

      More than 93% of the sailors under his command have completed a COVID-19 vac-

      cination series. (Doc. 60-1 ¶ 15) In sum, his present regime has proven successful in-

      cluding while “underway” on the oceans of the world.



                                               - 10 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 11 of 48 PageID 7522



            On September 13, 2021, Navy Commander submitted a “Religious Accom-

      modation Request.” (Doc. 60-1 ¶ 8) A devout Christian, Navy Commander harbors

      a sincere belief, which during his testimony he convincingly articulated with scrip-

      tural citations, that acceptance of the vaccine introduces an unclean substance into

      his body, which he understands is a gift from God and a temple of the Holy Spirit.

      Navy Commander abhors the use of fetal cell tissue in the development of the vac-

      cines and believes that production of the available vaccines was and is achieved by

      immoral means. As required by his faith, Navy Commander refuses to accept any

      COVID-19 vaccine.

            On October 22, 2021, the Chief of Naval Personnel denied Navy Com-

      mander’s Religious Accommodation Request. Navy Commander appealed on No-

      vember 3, 2021. (Doc. 60-1 ¶¶ 9, 10) Navy Commander testifies — consistent with

      the balance of the record in this action — that the denial letter “is identical to the de-

      nial letter received” by the sixteen sailors under his command on the guided missile

      destroyer. (Doc. 60-1 ¶ 19) Although Navy Commander endorsed the exemption re-

      quest of each sailor under his command and affirmed the ability on the destroyer he

      commands to accommodate each sailor’s request, the reviewing authority deemed

      Navy Commander’s endorsement insufficient for each member of his crew.

      (Doc. 60-1 ¶ 22)

            On January 28, 2022, the Chief of Naval Operations, the Navy’s final appel-

      late authority for religious exemptions, denied Navy Commander’s appeal.

      (Doc. 60-1 at 8–9) The appellate denial letter assumes that Navy Commander’s

                                                - 11 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 12 of 48 PageID 7523



      “religious beliefs are sincere and would be substantially burdened.” (Doc. 60-1 at 8)

      However, the letter states that “[a] waiver of immunizations would have a predicta-

      ble and detrimental effect on the readiness of you and the Sailors who serve along

      side you” and that the other preventative measures, which for the last two years

      Navy Commander has required of sailors under his command, “are not 100 percent

      effective and must be implemented in conjunction with immunization to reduce the

      risk of mission failure.” (Doc. 60-1 at 8) The appellate denial letter orders Navy

      Commander to begin a COVID-19 vaccination series at a Navy immunization clinic

      not later than February 3, 2022. (Doc. 60-1 at 9) Also, another order directed Navy

      Commander to meet with a squadron commander the evening of February 3, 2022,

      at which time Navy Commander “fully expect[ed]” — absent preliminary injunctive

      relief — “to be relieved as a commander of the ship, due to a ‘loss of confidence.’”

      (Doc. 60-1 ¶¶ 24–25) 3




              3
                Within minutes of the conclusion of the February 10, 2022 hearing on Navy Commander’s
      and Lieutenant Colonel 2’s motion for injunctive relief, counsel for the defendants announced the
      essentially simultaneous filing of, among other things, the affidavit (Doc. 81-1) of Navy Com-
      mander’s commanding officer and the affidavit (Doc. 83-1) of the Executive Officer serving immedi-
      ately under Navy Commander on the destroyer. Although introduced after the close of evidence, the
      affidavits purport to contradict a part of Navy Commander’s testimony that is unrelated to his re-
      quest for, and the Navy’s denial of, a religious exemption from the COVID-19 vaccination require-
      ment. The plaintiffs object to consideration of the declaration.

               Because I heard the testimony of Navy Commander and carefully observed his demeanor
      and listened attentively to the content of his testimony, I fully credit his testimony, even the parts in-
      consistent with the un-cross-examined, last-minute affidavits. A determination of the credibility of
      the statements in the affidavits must await live testimony and further exploration (these two wit-
      nesses are at the disposal of, and under the command of, the defendants, who neither offered their
      live testimony nor notified the plaintiffs of the fact of, or the content of, their affidavits). Cross-exam-
      ination is necessary in this circumstance to permit assessment of, among other things, the extent to
      which “command influence” might have affected the presence or content of the affidavits.
                                                        - 12 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 13 of 48 PageID 7524



             2. Lieutenant Colonel 2

             Lieutenant Colonel 2 serves as a logistics officer at Marine Forces Special Op-

      erations Command at Camp Lejeune, North Carolina. (Doc. 60-2 ¶ 2) In 1997,

      Lieutenant Colonel 2 enlisted in the Marine Corps. (Doc. 60-2 ¶ 3) Originally a re-

      servist, Lieutenant Colonel 2 voluntarily transferred to active duty after the attacks of

      September 11, 2001. In 2003, Lieutenant Colonel 2 completed officer candidate

      school and basic school. After becoming an officer, Lieutenant Colonel 2 performed

      several duties for the Marine Corps, which duties included serving as a congressional

      fellow for the Department of Defense and as a legislative assistant for the Marine

      Forces Integration Office. Lieutenant Colonel 2 was selected in a class of ten service

      members to receive a master’s degree from the Command and Staff College at the

      University of the Marine Corps.

             Currently, Lieutenant Colonel 2 serves as a Logistics Officer and a Diversity

      and Inclusion Officer. (Doc. 60-2 ¶ 6) Since the beginning of COVID-19, Lieuten-

      ant Colonel 2 has completed eight temporary duty assignments, which required

      travel across the United States. (Doc. 60-2 ¶ 19) In January 2021, Lieutenant Colo-

      nel 2 received orders to transfer to Bahrain to serve in the Marine Corps’ “naval inte-

      gration program” during the summer of 2022. 4 In August 2021, Lieutenant Colo-

      nel 2 was selected to command a combat logistics battalion stationed at Camp

      Lejeune. She was scheduled to assume command in the fall of 2022.



             4
                 After objecting to COVID-19 vaccination, Lieutenant Colonel 2’s transfer to Bahrain was
      delayed.
                                                     - 13 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 14 of 48 PageID 7525



             On September 7, 2021, Lieutenant Colonel 2 requested a religious exemption

      from COVID-19 vaccination. (Doc. 60-2 ¶ 8; Doc. 60-2 at 13) A devout follower of

      Christ, Lieutenant Colonel 2 testified that she and her husband live their lives accord-

      ing to the word of God. Lieutenant Colonel 2 harbors a sincere religious belief that

      her body is temple of God and that the compulsory introduction of a foreign sub-

      stance into the body violates the word of God. Also, before joining the military,

      Lieutenant Colonel 2 received an abortion after she became pregnant because of a

      rape. (Doc. 60-2 ¶ 18) This experience caused Lieutenant Colonel 2 to develop a

      profound religious opposition to abortion and to any vaccine developed with cell

      lines derived from fetal cells. (Doc. 60-2 ¶ 18)

             On October 13, 2021, the Deputy Commandant, Manpower & Reserve Affairs

      denied Lieutenant Colonel 2’s request for a religious exemption. (Doc. 60-2 ¶ 10)

      On November 3, 2021, Lieutenant Colonel 2 appealed, which on January 26, 2022,

      the Assistant Commandant of the Marine Corps denied. (Doc. 60-2 at 7) In the ap-

      pellate denial letter (Doc. 66-3), the Assistant Commandant determines — without

      explanation or citation of sources — that the COVID-19 vaccination requirement

      “does not substantially burden” Lieutenant Colonel 2’s religious belief because “fetal

      stem cells are neither used in the manufacture of the Pfizer COVID-19 vaccine nor

      are they present in the vaccine itself.” (Doc. 66-3 at 3) (The Assistant Commandant

      says nothing about the development of the vaccine or the religious concepts of, for

      example, accepting a personal benefit from evil, assisting someone in profiting from

      evil, cooperating in evil, appropriation of evil, de-sensitization to evil, moral

                                                - 14 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 15 of 48 PageID 7526



      contamination by intimacy with evil, ratification of evil, complicity with evil, or

      other considerations undoubtedly familiar to a theologian and likely familiar to a

      thoughtful religious lay person.)

            Further, “assuming that COVID-19 vaccination substantially burdens” Lieu-

      tenant Colonel 2’s religious exercise, the Assistant Commandant concludes that “the

      government’s compelling interests in military readiness and in the health and safety

      of the force” justify denying Lieutenant Colonel 2’s request. (Doc. 66-3 at 3) Again,

      in conclusory fashion, without citation of sources and without analyzing the specific

      demands of Lieutenant Colonel 2’s particular assignment, the Assistant Comman-

      dant states that “[w]hile masking, social distancing, hygiene, teleworking, and other

      similar measures, individually or in combination, have been shown to help slow the

      spread of the virus, they are simply not as effective as vaccination.” (Doc. 66-3 at 4)

      The Assistant Commandant finds that these lesser-restrictive measures “are often in-

      compatible with the demands of military life, where Marines and Sailors must live,

      work, realistically train, and, if necessary fight in close quarters.” (Doc. 66-3 at 4)

      (The Assistant Commandant’s use of “often” exemplifies the difference between an

      insufficient global dismissal and the required evaluation directed “to the person.”)

            On January 26, 2022, the commanding officer directed Lieutenant Colonel 2

      to begin a vaccination series not later than February 2, 2022. (Doc. 60-2 at 7) If

      Lieutenant Colonel 2 failed to timely begin the vaccination series, “the process will

      immediately begin to place [Lieutenant Colonel 2] on the Officer Disciplinary Note-

      book,” which strips Lieutenant Colonel 2 of her scheduled command and her

                                                - 15 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 16 of 48 PageID 7527



      eligibility for deployment, promotion, schooling, and other career progression, in-

      cluding retirement. (Doc. 60-2 ¶ 13) Further, placement on the Officer Disciplinary

      Notebook begins the “Board of Inquiry Process,” that is, the process of administra-

      tive separation from the Marines. (Doc. 60-2 ¶ 14)

                                                DISCUSSION 5

              This action questions the effect of RFRA’s resurrection of the Free Exercise

      Clause, the “prohibiting” clause of the First Amendment. 6 The meaning of the Free

      Exercise Clause, which understandably leaves “Free Exercise” undefined, has con-

      fused, confounded, and vexed studious and well-meaning citizens and, especially, be-

      leaguered jurists for many decades. (For a vivid example, see McGowan v. Maryland,

      366 U.S. 420 (1961) (separate opinions appear at 366 U.S. 459, 561, 583, 599, and

      617).

              Thomas Jefferson in his often-remarked letter (his “wall of separation” letter)

      to the Danbury Baptists in 1802 seems confidently to declare that “the legitimate




              5
               The following observations in a substantially similar form appear in an earlier order
      (Doc. 40) and appear here because understanding the provenance of RFRA informs a faithful appli-
      cation of Congress’s command.
              6
                The First Amendment, a spare but dense forty-five words, preserves against legislative in-
      trusion by Congress an array of rights irreplaceable to the civil and peaceful preservation of a consti-
      tutional republic. After the central prohibition “Congress shall make no law,” the First Amendment
      deploys three participles to identify the laws the amendment forbids. The three participles—respec-
      tive, prohibiting, and abridging—are not identical and not synonymous but suggest a hierarchical
      ordering. Akin to the encompassing but amorphous phrase “relating to,” “respecting” connotes the
      proscription of any law touching the pertinent rights. A more focused and more targeted phrase,
      “prohibiting” connotes a bar against any law that disallows, proscribes, or precludes the pertinent
      rights. “Abridging” connotes a bar of any law that compacts, constricts, confines, or otherwise im-
      pedes the pertinent rights. But the Supreme Court seldom, if ever, mentions the presence of these
      three distinct terms and attributes little, if any, importance to the apparent hierarchy of protections
      embedded in the First Amendment.
                                                       - 16 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 17 of 48 PageID 7528



      powers of government reach actions only, and not opinions” and that a person “has

      no natural rights in opposition to his social duties.” James Madison, often but not

      always in agreement with Jefferson, held that the constitutional meaning of “reli-

      gion” extends to “the means of discharging” religious faith. And, among others,

      William Penn held that “liberty of conscience,” which during the time of the Found-

      ers meant religious liberty, included “not only a mere liberty of the mind, in believing

      or disbelieving . . . but the exercise of ourselves in a visible way of worship.” Of

      course, the statements and the writings of this or that person, however prominent in

      the politics of the founding years or of another time, might influence — but cannot in

      isolation resolve — the meaning of a founding document (or any other document)

      that was drafted by one or more persons, first approved by a larger group of persons,

      and finally approved after further and more encompassing deliberation, for example,

      in the several states. Although famously inconstant and sometimes even self-contra-

      dictory on the subject, the Supreme Court’s interpretation governs the content and

      effect of the First Amendment (the Supreme Court’s exclusive power to interpret the

      Constitution is one of the rare doctrines on which the Supreme Court is tirelessly

      constant).

            Remarkably, from 1789 to 1878 the Supreme Court had no occasion to ex-

      pound the meaning of the Free Exercise Clause (perhaps the meaning was agreed

      and accepted, and the lawmakers, mindful of the Constitution and the tradition of

      deference to religious beliefs and tolerance of religious difference, prudentially chose

      tolerance and diversity over aggression and enforced homogeneity). But a territorial

                                                - 17 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 18 of 48 PageID 7529



      legislature’s response to polygamy among the Mormons resulted in Reynolds v. United

      States, 98 U.S. 145 (1878), in which Chief Justice Waite for a unanimous court evalu-

      ated whether at Reynolds’s trial the judge should have instructed the jury that if

      Reynolds, a Mormon criminally charged under the law of the Territory of Utah with

      bigamy, was married simultaneously to two women “in pursuance of and in con-

      formity with what he believed at the time to be a religious duty, th[en] the verdict

      must be not guilty.” 98 U.S. at 161.

            Reynolds sounds strongly the theme that bigamy “has always been odious

      among the northern and western nations of Europe,” in England and Wales was

      punishable by death, and was at all times in the states of the United States “an of-

      fence against society.” Fortified by a recitation of some pertinent history, by a sur-

      vey of the states, and by the force of public opinion, Reynolds finds that by force of

      the Free Exercise Clause:

                   Congress was deprived of all legislative powers over mere opin-
                   ion, but was left free to reach actions which were in violation of
                   social duties or subversive of good order.

                   ...

                   Laws are made for the government of actions, and while they
                   cannot interfere with mere religious belief and opinions, they
                   may with practices.

      98 U.S. at 145. Reynolds reaches a Jeffersonian result, entirely consistent with his re-

      assurances to the Danbury Baptists, a small and uneasy assembly at the time, that

      “the legislative powers of the government reach action only, and not opinions.”




                                                 - 18 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 19 of 48 PageID 7530



            After Reynolds, the Free Exercise Clause received little attention in the Su-

      preme Court until Cantwell v. Connecticut, 310 U.S. 296 (1940), discovered that the

      Fourteenth Amendment had incorporated the Free Exercise Clause and subjected

      the state’s law to the First Amendment’s admonition that “Congress shall make no

      law.” With the addition of challenges to state laws affecting religion, the frequency of

      Supreme Court decisions on the Free Exercise Clause accelerated. In Cantwell, three

      Jehovah’s Witnesses were convicted of soliciting house-to-house for contributions to

      the church without first procuring a permit from “the secretary of the public welfare

      council of the state.” Soliciting for a religious contribution in Connecticut was fine,

      but soliciting without a permit from the public welfare secretary was, according to

      Connecticut, an illegal incitement of a breach of the peace.

            Cantwell finds that the public-welfare secretary’s capacity to accomplish the

      “censorship of religion” by an exercise of governmental permitting discretion im-

      posed a “prior restraint” — a “denial of liberty protected by the First Amendment”

      as incorporated into the Fourteenth Amendment and applied to Connecticut. Alt-

      hough casually mingling concepts of freedom of religion with concepts of freedom of

      speech (and perhaps freedom of assembly), Cantwell resolves:

                   [T]o condition the solicitation of aid for the perpetuation of reli-
                   gious views or systems upon a license, the grant of which rests
                   in the exercise of a determination by state authority as to what
                   is a religious cause, is to lay a forbidden burden upon the exer-
                   cise of liberty protected by the Constitution.

      310 U.S. at 307.



                                                  - 19 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 20 of 48 PageID 7531



            Legal developments from the fraternal disagreement between Jefferson and

      Madison to the present dispute are too lengthy to detail precisely. But a distinct and

      troublesome thread of tension between religion and legislation appears, and the main

      decisions are worth briefly recalling. For example, the availability of the Fourteenth

      Amendment to support a claim against a state law yielded Sherbert v. Verner, 374 U.S.

      398 (1963), in which a Seventh-Day Adventist lost her job when she declined to

      work on Saturday, the Sabbath Day of her faith. The state denied her application for

      unemployment compensation because she “failed without good cause . . . to accept

      available suitable work,” which her employer offered if she would work on Saturday,

      which she would not. Sherbert, 374 U.S. at 401.

            Explicitly confirming a distinction between regulation to “compel affirmation

      of a repugnant belief” and “regulation of certain overt acts prompted by religious be-

      liefs or principles,” Sherbert addresses “whether the disqualification for benefits im-

      poses any burden on the free exercise of appellant’s religion.” Sherbert, 374 U.S. at

      402–03. Acknowledging that the disqualification required by the unemployment

      compensation law “derives solely from the practice of her religion” and that the law

      applies “pressure upon her to forego that practice,” Sherbert equates the effect of the

      law to a monetary penalty for “Saturday worship” and invalidates the law as a viola-

      tion of the Free Exercise Clause because the law “penalizes the free exercise of her

      constitutional liberties” by inducing her to avoid the penalty by violating a “cardinal

      principle of her religious faith.” Sherbert, 374 U.S. at 404–06. Sherbert considers



                                                - 20 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 21 of 48 PageID 7532



      whether a “compelling state interest” might counterbalance the identified infringe-

      ment of religious liberty and concludes:

                    It is basic that no showing merely of a rational relationship to
                    some colorable state interest would suffice; in this highly sensi-
                    tive constitutional area, “[o]nly the gravest abuses, endangering
                    paramount interests, give occasion for permissible limitation.

      Sherbert, 374 U.S. at 406 (citing Thomas v. Collins, 323 U.S. 516, 530 (1945)). Sherbert

      was a much more Madisonian result.

             Similarly, Wisconsin v. Yoder, 406 U.S. 205 (1972), invalidates the state’s law

      requiring compulsory school attendance for those under sixteen. Yoder and other

      Amish declined on religious grounds to send their children to school after the eighth

      grade. Writing for the court, Chief Justice Burger finds the state’s interest in educa-

      tion (“a high responsibility”) is “not totally free from a balancing process when it im-

      pinges . . . the Free Exercise Clause . . . and the traditional interests of parents with

      respect to the religious upbringing of their children.” Yoder, 406 U.S. at 213–14. Af-

      ter an extensive review of the provenance and practice of Amish beliefs and after

      finding the beliefs sincere, enduring, and elemental to the Amish faith, the Chief Jus-

      tice observes that — for the Amish — limiting a child’s education to the eighth

      grade, to “the three Rs,” “is not merely a matter of personal preference, but one of

      deep religious conviction.” Yoder, 406 U.S. at 216. As a result, the Chief Justice

      finds “a very real threat of undermining the Amish community and religious practice

      as they exist today” and concludes:

                    The impact of the compulsory-attendance law on respondents’
                    practice of the Amish religion is not only severe, but inescapa-
                    ble, for the Wisconsin law affirmatively compels them, under
                                                  - 21 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 22 of 48 PageID 7533



                   threat of criminal sanction, to perform acts undeniably at odds
                   with fundamental tenets of their religious beliefs.

      Yoder, 406 U.S. at 218.

            Yoder balances two strong but, in Yoder’s circumstance, competing and irre-

      solvable interests — universal education and Free Exercise. Because examination

      identified only a marginal harm to the state’s interest if Free Exercise rights were pre-

      served, Yoder prevailed. Yoder is avowedly an example of the court’s “recognizing

      the need for a sensible and realistic application of the Religion Clauses.” Yoder, 406

      U.S. at 221. The extended discussion in Yoder includes this summary:

                   The essence of all that has been said and written on the subject
                   is that only those interests of the highest order and those not
                   otherwise served can overbalance legitimate claims to the free
                   exercise of religion. We can accept it as settled, therefore, that,
                   however strong the State’s interest in universal compulsory edu-
                   cation, it is by no means absolute to the exclusion or subordina-
                   tion of all other interests.

      Yoder, 406 U.S. at 215. Sherbert and Yoder governed for a several years.

            Somewhat similar to this dispute is Goldman v. Weinberger, 475 U.S. 503

      (1986), in which the Air Force enforced a dress regulation that prohibited the wear-

      ing of a non-regulation attire, including a yarmulke worn by an Air Force psycholo-

      gist who was an Orthodox Jew, an ordained rabbi, and a PhD in psychology; who

      was practicing in a clinic at March Air Force Base in California; and whose sincerely

      held religious belief required his wearing a yarmulke.

            Although the rabbi argued for the application of Sherbert and Yoder, then-Jus-

      tice Rehnquist in his opinion for the court cited the military’s “specialized society

      separate from civilian society” and the military’s “respect for duty and a discipline
                                                 - 22 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 23 of 48 PageID 7534



      without counterpart in civilian life” and determined to apply a standard (unstated)

      “far more deferential” than for a challenge by a civilian to a similar restriction “for

      civilian society.” Goldman, 475 U.S. at 506–07. Goldman offers assurances that the

      consequences of military discipline “do not, of course, render entirely nugatory in the

      military context the guarantees of the First Amendment” and that:

                   [W]hen evaluating whether military needs justify a particular
                   restriction on religiously motivated conduct, courts must give
                   great deference to the professional judgment of military authori-
                   ties concerning the relative importance of a particular military
                   interest.

      Goldman, 475 U.S. at 507.

            Remarking the claimed need for a “sense of hierarchical unity,” advanced in

      the military “by tending to eliminate outward individual distinctions except for those

      of rank,” Justice Rehnquist identifies regulations providing that only “authorized

      headgear” is worn outdoors and that, except for on-duty law enforcement and in

      “designated living quarters,” no headgear is worn indoors. Goldman, 475 U.S. at

      508–09. Without a lucid expression of the applicable standard of scrutiny and an ex-

      planation of how the result in Goldman follows reasonably from the facts of Goldman,

      the opinion leaves the reader mystified about how a mere yarmulke, worn under a

      regulation Air Force cap outdoors on the base and in the confines of a psychologist’s

      consulting rooms and clinic on the base, erodes “hierarchical unity”; how the yar-

      mulke was even noticed (except perhaps in retaliation by Goldman’s litigation adver-

      sary, who filed the complaint); and how this prospective erosion of military disci-

      pline, hierarchy, or the like — not specified, not quantified, and not even exemplified

                                                - 23 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 24 of 48 PageID 7535



      — outweighed a constitutionally fundamental right guaranteed by the Free Exercise

      Clause. The Goldman dissenters complained tellingly that the military’s “lack of any

      reasoned basis for prohibiting yarmulkes” was “striking” and that the majority

      seemed to forsake the more demanding inquiry featured in Sherbert and Yoder. Gold-

      man, 475 U.S. at 520 (Brennan, J., dissenting).

            Soon after Goldman came Employment Division, Department of Human Resources

      of Oregon v. Smith, 494 U.S. 872 (1990), in which Justice Scalia, writing for the major-

      ity, determines that Oregon — without unconstitutionally contravening the Free Ex-

      ercise rights of church members — can criminalize consumption of the hallucinogen

      peyote, although members of the Native American Church use peyote in religious

      rites. While surveying the precedent in which a state law of general application com-

      petes with the Free Exercise Clause, Justice Scalia first attempts to confine the prece-

      dent to instances raising “not the Free Exercise Clause alone, but the Free Exercise

      Clause in conjunction with other constitutional freedoms, such as freedom of speech

      and of the press,” Smith, 494 U.S. at 881, and next attempts to confine the balance of

      the precedent to instances involving unemployment compensation. Further mini-

      mizing Sherbert and Yoder, Justice Scalia cites instances, including Goldman, that

      evade Sherbert. In a decisive dismissal of Sherbert, Justice Scalia mentions his view of

      the limitations that Sherbert would encounter “even if we were inclined to breathe

      into Sherbert some life beyond the unemployment compensation field.” Smith, 494

      U.S. at 884.



                                               - 24 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 25 of 48 PageID 7536



            In precisely describing (or, at least, in trying to precisely describe) the control-

      ling distinction, Justice Scalia in Smith distinguishes between (1) a circumstance in

      which “the state has in place a system of individual exemptions,” in which case “the

      state may not refuse to extend that system to cases of ‘religious hardship’ without

      compelling reason” and (2) a circumstance in which a state adopts “an across-the-

      board criminal prohibition on a particular form of conduct.” 494 U.S. at 884. Jus-

      tice Scalia’s coda to Smith presents both his recognition that several states had en-

      acted statutory exemptions from the criminal law to permit sacramental use of pe-

      yote and his reconciliation of those exemptions to Smith:

                   Values that are protected against government interference
                   through enshrinement in the Bill of Rights are not thereby ban-
                   ished from the political process.

                   ...

                   But to say that a nondiscriminatory religious-practice exemp-
                   tion is permitted, or even that it is desirable, is not to say that it
                   is constitutionally required, and that the appropriate occasions
                   for its creation can be discerned by the courts. It may fairly be
                   said that leaving accommodation to the political process will
                   place at a relative disadvantage those religious practices that are
                   not widely engaged in; but that unavoidable consequence of
                   democratic government must be preferred to a system in which
                   each conscience is a law unto itself or in which judges weigh
                   the social importance of all laws against the centrality of all reli-
                   gious beliefs.

      Smith, 494 U.S. at 890.

            A search for a general rule emerging from Smith reveals this paragraph, writ-

      ten by Justice O’Connor in a concurrence, which recapitulates Smith’s formal retire-

      ment of Sherbert:


                                                   - 25 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 26 of 48 PageID 7537



                   The Court today extracts from our long history of free exercise
                   precedents the single categorical rule that “if prohibiting the ex-
                   ercise of religion . . . is . . . merely the incidental effect of a gen-
                   erally applicable and otherwise valid provision, the First
                   Amendment has not been offended.” [citation omitted] Indeed,
                   the Court holds that where the law is a generally applicable
                   criminal prohibition, our usual free exercise jurisprudence does
                   not even apply. [citation omitted] To reach this sweeping result,
                   however, the Court must not only give a strained reading of the
                   First Amendment but must also disregard our consistent appli-
                   cation of free exercise doctrine to cases involving generally ap-
                   plicable regulations that burden religious conduct.

      Smith, 494 U.S. at 892 (O’Connor, J., concurring).

            Smith left much uncertainty about the breadth and vigor of the Free Exercise

      Clause, an uncertainty fortified by an assay of the Supreme Court’s decisions, to and

      including Smith, which reveals a variety of distinctions, each offering utility in the

      facts of a particular case and used by the Supreme Court to resolve challenges to gov-

      ernmental intrusion on Free Exercise: whether the governmental action affects belief

      or conduct; if conduct is affected, whether the conduct is active or passive; whether

      the governmental action affects a religious practice that is otherwise legal or other-

      wise illegal; whether application or enforcement of the law is mandatory, strictly or

      loosely guided, or discretionary; whether governmental action enforces a law that is

      generally applicable or aimed toward religious activity; whether the governmental ac-

      tion is generally applicable or permits exceptions; if exceptions are permitted,

      whether the exceptions are religious, secular, or both; if exceptions are permitted,

      whether the exceptions favor religious activity to an extent that affronts the Establish-

      ment Clause; whether the law affects a religious belief or a conviction of secular

      moral conscience; whether an affected belief is sincere and, if so, whether the

                                                    - 26 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 27 of 48 PageID 7538



      affected belief or conviction is implausible, irrational, or bizarre (but not whether the

      belief is true or untrue); whether the belief or conviction amounts to principled oppo-

      sition to a category of morally offensive events or is limited to ad hoc opposition to a

      particular event (such as the difference between opposition to all wars and opposition

      to a particular war); whether the law affects only the government’s conduct of its

      own internal affairs; and whether the law affects only Free Exercise or also affects

      other constitutional rights; and sundry other distinctions from time to time deployed

      by the Supreme Court “as meet and convenient.”

              Perceiving unhappily the result in Smith and the shifting grounds for the Su-

      preme Court’s other Free Exercise Clause decisions, Congress enacted RFRA, which

      emphatically rejects Smith and explicitly restores Sherbert and Yoder. In RFRA’s

      statement of purpose section, 42 U.S.C. § 2000bb, Congress states that RFRA serves

      “(1) to restore the compelling interest test as set forth in Sherbert v. Verner, 374 U.S.

      398 (1963) and Wisconsin v. Yoder, 406 U.S. 205 (1972) and to guarantee its applica-

      tion in all cases where Free Exercise is substantially burdened; and (2) to provide a

      claim or defense to persons whose religious exercise is substantially burdened by gov-

      ernment.”

              For a unanimous court in Gonzales v. O Centro Espirita Beneficente Uniao Do Veg-

      etal, 546 U.S. 418 (2006), the Chief Justice confirms the congressional rejection of

      Smith in favor of Sherbert and Yoder and outlines more expressly the statutory pur-

      pose:



                                                 - 27 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 28 of 48 PageID 7539



                   [T]he Federal Government may not, as a statutory matter, sub-
                   stantially burden a person’s exercise of religion, “even if the bur-
                   den results from a rule of general applicability.” [42 U.S.C.] §
                   2000bb-1(a). The only exception recognized by the statute re-
                   quires the Government to satisfy the compelling interest test—to
                   “demonstrat[e] that application of the burden to the person—
                   (1) is in furtherance of a compelling governmental interest; and
                   (2) is the least restrictive means of furthering that compelling
                   governmental interest.” [42 U.S.C.] § 2000bb-1(b). A person
                   whose religious practices are burdened in violation of RFRA
                   “may assert that violation as a claim or defense in a judicial pro-
                   ceeding and obtain appropriate relief.” [42 U.S.C] § 2000bb-1(c).

      O Centro, 546 U.S. at 424.

            Further, the Chief Justice in his unanimous opinion details that, assuming a

      plaintiff presents prima facie evidence of a substantial burden on a sincerely held reli-

      gious exercise, the government bears the burden to prove that the law in question fur-

      thers a compelling governmental interest by the least restrictive means available.

      Confirming the reasoning in Ashcroft v. American Civil Liberties Union, 542 U.S. 656

      (2004), and summarizing, the Chief Justice explains:

                   RFRA requires the Government to demonstrate that the com-
                   pelling interest test is satisfied through application of the chal-
                   lenged law “to the person”—the particular claimant whose sin-
                   cere exercise of religion is being substantially burdened.

      O Centro, 546 U.S. at 430.

            Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682 (2014), conceives RFRA’s stat-

      utory protection for religious liberty as more comprehensive and more accessible

      than the constitutional protection, at least if the federal government is the alleged in-

      fringer. Specifically, Hobby Lobby confirms that “RFRA did more than merely re-

      store the balancing test used in the Sherbert line of cases; it provided even broader


                                                  - 28 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 29 of 48 PageID 7540



      protection for religious liberty than was available under those decisions.” Hobby

      Lobby, 573 U.S. at 695 n.3; Holt v. Hobbs, 574 U.S. 352, 859–60 (2015) (finding that

      RFRA “provide[s] greater protection for religious exercise than is available under the

      First Amendment.”)

            The service members in Count II challenge the military’s vaccination require-

      ment under the First Amendment and in Count III challenge the military’s vaccina-

      tion requirement under RFRA. Because for a service member RFRA “provides

      greater protection . . . than is available under the First Amendment,” the RFRA

      claim demands primary consideration (after all, if a service member’s RFRA claim

      fails, the service member’s First Amendment claim necessarily fails).

                                      I. JUSTICIABILITY

            RFRA secures for a service member a claim against the military for violation

      of Free Exercise. Article I, Section 8, Clause 14 of the Constitution vests Congress

      with the plenary authority “[t]o make Rules for the Government and Regulation of

      the land and naval Forces[.]” By enacting RFRA, Congress exercised this plenary

      authority to guarantee the “broad protection for religious liberty.” Burwell v. Hobby

      Lobby Stores, Inc., 573 U.S. 682, 706 (2014). To ensure comprehensive protection of

      Free Exercise, Congress under 42 U.S.C. § 2000bb-2(1) extends RFRA to govern any

      substantial burden imposed by a “branch, department, agency, instrumentality, and




                                               - 29 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 30 of 48 PageID 7541



      official (or other person acting under color of law) of the United States.” No exemp-

      tion, whether express or implied, relieves the military of RFRA’s command. 7

              Further, RFRA expressly creates a remedy in district court. Entitled “Judicial

      Relief,” 42 U.S.C. § 2000bb-1(c), affords “[a] person whose religious exercise has

      been burdened in violation of this section” to “assert that violation as a claim or de-

      fense in a judicial proceeding and obtain appropriate relief against a government.”

      RFRA includes no administrative exhaustion requirement and imposes no jurisdic-

      tional threshold. No exemption, whether or express or implied, insulates the military

      from review in the district court.

              Explaining RFRA’s application to the military, Singh v. McHugh, 185 F. Supp.

      3d 201, 217–18 (D.D.C. 2016) persuasively observes:

                      RFRA applies to the “government,” which is defined to include
                      a branch, department, agency, instrumentality, and official (or
                      other person acting under color of law) of the United States.”
                      42 U.S.C. § 2000bb–2(1). So, on its face, the statute plainly ap-
                      plies to the U.S. Army. And defendants acknowledge that Con-
                      gress specifically intended RFRA to apply to the military. Hr’g
                      Tr. at 35; see also S. Rep. No. 103–111, at 12 (1993) (“Under


              7
                 “[C]ourts must — at least initially —indulge the optimistic presumption that the military
      will afford its members the protections vouchsafed by the Constitution, by the statutes, and by its
      own regulations.” Hodges v. Callaway, 499 F.2d 417, 424 (5th Cir. 1984). But that deference “does
      not justify the abdication of the responsibility, conferred by Congress, to apply [a statute’s] rigorous
      standard.” Holt v. Hobbs, 574 U.S. 352, 364 (2015). Holt charges that the Religious Land Use and In-
      stitutionalized Persons Act—RFRA’s “sister statute”—“does not permit such unquestioning defer-
      ence” to a decision by a prison official even if that decision affects health, safety, good order, and
      discipline. Holt, 574 U.S. at 364. The defendants cite no authority—governing or persuasive—to sug-
      gest that a military personnel decision allegedly violative of RFRA enjoys immunity from judicial
      review. To the contrary, determining whether a government official’s action contravenes a statutory
      directive is singularly within the expertise of a district court. See Holt, 574 U.S. at 866 (emphasizing
      that RLUIPA “demands much more” than deferring to an officials “mere say-so that they could not
      accommodate petitioner’s request”); Harmon v. Brucker, 355 U.S. 579, 582 (1958); Emory v. Sec’y of
      Navy, 819 F.2d 291, 294 (D.C. Cir. 1987); Dilley v. Alexander, 603 F.2d 914, 920 (D.C. Cir. 1979) (“It
      is the duty of the federal courts to inquire whether an action of a military agency conforms to the
      law[.]”); Singh v. McHugh, 185 F. Supp. 3d 201, 218–22 (D.D.C. 2016); Heap v. Carter, 112 F. Supp.
      402 (E.D. Va. 2015).
                                                       - 30 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 31 of 48 PageID 7542



                      the unitary standard set forth in [RFRA], courts will review the
                      free exercise claims of military personnel under the compelling
                      governmental interest test.”); H.R. Rep. No. 103–88 (1993)
                      (“Pursuant to the Religious Freedom Restoration Act, the
                      courts must review the claims of prisoners and military person-
                      nel under the compelling governmental interest test.”).

              A service member can sue in a district court to enjoin a military department or

      military official from violating the service member’s civil right to Free Exercise. 8 Alt-

      hough RFRA imposes no requirement of administrative exhaustion and both this

      record and other decisions explain the likely futility within the military of a religious

      exemption, Air Force Officer v. Austin, 5:22-cv-0009-TES (M.D. Ga. Feb. 15, 2022),

      and U.S. Navy SEALs 1–26 v. Biden, --- F. Supp. 3d ---, 2022 WL 34443 (N.D. Tex.

      Jan. 3, 2022), Navy Commander and Lieutenant Colonel 2 have nonetheless ex-

      hausted the mechanisms available within the military.

                                    II. PRELIMINARY INJUNCTION

              A preliminary injunction issues only if the movant shows (1) a substantial like-

      lihood of success on the merits, (2) a substantial likelihood of irreparable injury ab-

      sent an injunction, (3) an imbalance of equities favoring the movant, and (4) an




              8
                According to Speigner v. Alexander, 248 F.3d 1292, 1295 n.5 (11th Cir. 2001), the test in
      Mindes v. Seaman, 453 F.2d 197 (5th Cir. 1971), no longer determines justiciability in actions by ser-
      vice members against the military for a claim “based on an injury incident to service.” See also Doe v.
      Garrett, 903 F.2d 1455, 1463 n.15 (11th Cir. 1990) (“[I]t appears well established that Mindes need
      not be applied before reaching the merits of a statutory claim against the military.”). But see Stinson v.
      Hornsby, 821 F.2d 1537, 1540 (11th Cir. 1987) (remanding case against the military to district court
      to apply Mindes factors). In the alternative that the Mindes factors govern justiciability, I find the
      Mindes test thoroughly and convincingly satisfied for the reasons stated in Air Force Officer v. Austin,
      5:22-cv-00009-TES (M.D. Ga. Feb. 15, 2022) and U.S. Navy SEALs 1–26 v. Biden, --- F. Supp. 3d ---,
      2022 WL 34443 (N.D. Tex. Jan. 3, 2022).
                                                        - 31 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 32 of 48 PageID 7543



      unlikelihood of the injunction’s materially injuring the public interest. Siegel v. Le-

      Pore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc).

      A.     Substantial likelihood of success

             As explained earlier, to prevail on a claim under RFRA, the plaintiff must

      show that the challenged government action substantially burdens a sincere religious

      belief. If the plaintiff establishes a substantial burden and sincerity, the government

      must demonstrate “that application of the burden to the person” both “is in further-

      ance of a compelling governmental interest” and “is the least restrictive means of fur-

      thering that interest.”

             1. A substantial burden on a sincere religious belief

             A substantial burden exists if the challenged action “‘prevents the plaintiff

      from participating in an activity motivated by a sincerely held religious belief,’”

      Davila v. Gladden, 777 F.3d 1198, 1204 (11th Cir. 2015) (quoting Yellowbear v. Lam-

      pert, 741 F.3d 48, 55 (10th Cir. 2014)), or if the action “‘truly pressures the [plaintiff]

      to significantly modify his religious behavior,’” Christian Missionary All. Found., Inc. v.

      Burwell, No. 2:14-cv-580, 2015 WL 437631, at *5 (M.D. Fla. 2015) (quoting Adkins v.

      Kaspar, 393 F.3d 559, 570 (5th Cir. 2004)). Governmental action coercing a direct

      violation of a religious belief imposes a substantial burden. Wisconsin v. Yoder, 406

      U.S. 205, 218 (1972) (finding the existence of a substantial burden “inescapable, for

      the Wisconsin law affirmatively compels them, under threat of criminal sanction, to

      perform acts undeniably at odds with fundamental tenets of their religious beliefs.”);

      Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058, 1069–70 (9th Cir. 2008) (defining

                                                 - 32 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 33 of 48 PageID 7544



      “substantial burden” to mean a person “coerced to act contrary to their religious be-

      liefs by threat of civil or criminal sanctions”).

             Judged under the governing legal standard, both Navy Commander and Lieu-

      tenant Colonel 2 suffer a substantial burden on a sincere religious belief. Navy Com-

      mander refuses vaccination to remain true to his faith, which requires the preserva-

      tion of his body as a temple of the Holy Spirit. Similarly situated and believing that

      each COVID-19 vaccination is “religiously unclean according to [Lieutenant Colonel

      2’s] personal faith,” Lieutenant Colonel 2 refuses vaccination. (Doc. 60-2 at 9) Lieu-

      tenant Colonel 2 voices a sincere objection to “any substance . . . connected with []

      aborted fetal cell lines.” In practicing her religious belief, Lieutenant Colonel 2 finds

      her opposition to abortion irreconcilable with accepting any COVID-19 vaccine.

             On January 28, 2022, Navy Commander received notice that the Chief of Na-

      val Operations disapproved Navy Commander’s appeal. (Doc. 60-1 at 8) The notice

      of denial ordered Navy Commander to receive a vaccine within five calendar days.

      (Doc. 66-2 at 2) On January 26, 2022, Lieutenant Colonel 2 received the denial of

      her appeal, accompanied with an order to vaccinate within five business days. (Doc.

      60-2 at 3) The fact of, and the consequences of, disobeying a direct order doubtlessly

      pressure Navy Commander and Lieutenant Colonel 2 to alter their religious practice.

      Because the COVID-19 vaccination requirement “puts [Navy Commander and Lieu-

      tenant Colonel 2] to this choice,” the requirement to vaccinate substantially burdens

      religious exercise. Holt v. Hobbs, 574 U.S. 352, 361 (2015).



                                                 - 33 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 34 of 48 PageID 7545



            2. The defendants fail to discharge RFRA’s burden.

            If a plaintiff demonstrates that the government’s action substantially burdens

      the person’s Free Exercise, the government must “demonstrate” under 42 U.S.C. §

      2000bb-1(b), that is, the government must bear the burden of going forward with the

      evidence and satisfying the burden of persuasion, that application of the burden to

      the person (1) is in furtherance of a compelling governmental interest and (2) is the

      least restrictive means of furthering that compelling governmental interest. RFRA’s

      focus on “the burden to the person” demands more than dismissive, encompassing,

      and inflexible generalizations about the government’s interest and about the absence

      of a less restrictive alternative. Davila, 777 F.3d at 1206 (“[B]roadly formulated inter-

      ests” and “generalized statement[s]” will not suffice). Instead, the government must

      proffer “specific and reliable evidence” (not formulaic commands, policies, and con-

      clusions) demonstrating that the marginal benefit flowing from a specific denial —

      discounted by any detriment as a consequence of dismissing highly trained, success-

      ful, and patriotic service members — furthers a compelling governmental interest.

      The government must discharge both of RFRA’s burdens “through application of the

      challenged law ‘to the person’ — the particular claimant whose sincere exercise of re-

      ligion is being substantially burdened.” Gonzales v. O Centro Espirita Beneficente Uniao

      do Vegetal, 546 U.S. 418, 430–31 (2006); see also Burwell v. Hobby Lobby Stores, Inc., 573

      U.S. 682, 727–28 (emphasizing that a court must “‘loo[k] beyond broadly formulated

      interests’ and to ‘scrutiniz[e] the asserted harm of granting specific exemptions to

      particular religious claimants’”) (alterations in original) (quoting O Centro, 546 U.S.

                                                - 34 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 35 of 48 PageID 7546



      at 431). In sum, a district court must not defer to an official’s “mere say-so that [the

      official] could not accommodate” a request. Holt, 574 U.S. at 369. RFRA demands

      a “more focused” inquiry and requires scrutiny of the “‘marginal interest in enforc-

      ing’ the challenged government action in that particular context.” Holt, 574 U.S. at

      363 (citing Hobby Lobby, 573 U.S. at 726–27); U.S. Navy Seals 1-26 v. Biden, --- F.

      Supp. 3d ---, 2022 WL 34443, at *10 (N.D. Tex. Jan. 3, 2022) (“The defendants must

      provide more than a broadly formulated interest in ‘national security.’ They must ar-

      ticulate a compelling interest in vaccinating the thirty-five religious servicemembers

      currently before the Court.”). 9

             Further, the government’s burden at the preliminary injunction stage tracks

      the government’s burden at trial. O Centro, 546 U.S. at 429. RFRA “squarely”

      places the burden on the government to demonstrate a compelling interest achieved

      through the least restrictive means. O Centro, 546 at 429–30 (citing Ashcroft v. Ameri-

      can Civil Liberties Union, 542 U.S. 656, 666 (2004) (affirming the grant of a prelimi-

      nary injunction because the government failed to satisfy the burden of proof)). Ac-

      cordingly, the plaintiffs “must be deemed likely to prevail unless the Government has

      shown that [the plaintiffs’] proposed less restrictive alternatives are less effective”

      than the burden imposed by the government. Ashcroft, 542 U.S. at 666. Showing




               9
                 Accordingly, RFRA likely exceeds the pre-Smith protection of Free Exercise. City of Boerne
      v. Flores, 521 U.S. 507, 535 (1997) (holding that RFRA “imposes in every case a least restrictive
      means requirement—a requirement that was not used in the pre-Smith jurisprudence RFRA pur-
      ported to codify”); McAllen Grace Brethren Church v. Salazar, 764 F.3d 465, 475 (5th Cir. 2014) (hold-
      ing that RFRA’s requiring the least-restrictive means “is a severe form of the ‘narrowly tailored’
      test.”)
                                                      - 35 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 36 of 48 PageID 7547



      that the challenged action has “some effect” on achieving a governmental interest is

      insufficient. Ashcroft, 542 U.S. at 666; O Centro, 546 U.S. at 418 (“The point remains

      that the burdens at the preliminary injunction stage [of a RFRA action] track the bur-

      dens at trial.”).

             a. The denial of Navy Commander’s and Lieutenant Colonel 2’s request
                for a religious exemption.

             The Navy denies Navy Commander’s appeal “due to the Navy’s compelling

      governmental interest in preventing spread of diseases to support mission accom-

      plishment, including military readiness, unit cohesion, good order and discipline,

      and health and safety, at the individual, unit, and organizational levels.” (Doc. 60-1

      at 8) The denial letter asserts that granting Navy Commander’s appeal “will have a

      direct and foreseeable negative impact on the compelling government interest in mili-

      tary readiness and health of the force.” In support of this assertion, the letter states

      that COVID-19 vaccination “reduces the risk to the individual for disease-related

      performance impairment and [] reduces the risk to the unit for disease outbreaks”

      and states that “non-pharmacologic measures [of mitigating COVID-19] . . . are not

      100 percent effective and must be implemented in conjunction with immunization.”

      (The denial letter fails, as the denial letter must fail, to identify any “100 percent” ef-

      fective method to defeat COVID-19.) Except for noting that Navy Commander is “a

      Surface Warfare Officer commanding an operational warship[,]” the letter fails to ex-

      plain how the denial of Navy Commander’s religious accommodation satisfies the

      requirements of RFRA.


                                                 - 36 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 37 of 48 PageID 7548



             The Marine Corps denies Lieutenant Colonel 2’s appeal because of “the gov-

      ernment’s compelling interests in military readiness and in the health and safety of

      the force.” Citing the increased transmission and severity of the Delta variant among

      unvaccinated people, the letter states that “an exemption from the COVID-19 vac-

      cination poses a significant risk to military readiness[] and the health and safety of

      the force,” particularly because Lieutenant Colonel 2 “work[s] primarily indoors”

      and because Lieutenant Colonel 2 is “currently attached to a deployable unit.” Fur-

      ther, the letter asserts — again reaching disputed medical conclusions without evalu-

      ation or citation of medical or legal authority — that “natural immunity” and mitiga-

      tion measures other than vaccination “are simply not as effective as vaccination” and

      that “[t]he demands of military life” render ineffective these less restrictive means of

      protecting the health and safety of the force. 10



             10
                The comparative effectiveness—and the quantification of that comparative effectiveness—
      for several combinations of vaccines, for natural immunity resulting from an earlier infection, and
      for several combinations of vaccines plus natural immunity remains, especially as to the current
      Omicron variant, remain under careful study and constant “evolution.” For example, the CDC Mor-
      bidity and Mortality Weekly Report for January 28, 2022, finds in the summary that “[b]y early Oc-
      tober [2021], persons who survived a previous infection had lower case rates than persons who were
      vaccinated alone.” The report later finds:

                     [A]fter emergence of the Delta variant and over the course of time,
                     incidence increased sharply in this group, but only slightly among
                     both vaccinated and unvaccinated persons with previously diagnosed
                     COVID-19. Across the entire study period, persons with vaccine- and
                     infection-derived immunity had much lower rates of hospitalization
                     compared with those in unvaccinated persons. These results suggest
                     that vaccination protects against COVID-19 and related hospitaliza-
                     tion and that surviving a previous infection protects against a reinfec-
                     tion. Importantly, infection-derived protection was greater after the
                     highly transmissible Delta variant became predominant, coinciding
                     with early declining of vaccine-induced immunity in many persons.
                     Similar data accounting for booster doses and as new variants, in-
                     cluding Omicron, circulate will need to be assessed.
                                                                                                (continued…)
                                                      - 37 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 38 of 48 PageID 7549



             Thus, each letter predicates Navy Commander’s and Lieutenant Colonel 2’s

      denial on a broadly articulated interest in “the health and safety of the force” and on

      the assertion that broadly articulated “demands of military life” render ineffective

      any less restrictive means that either service member identified to mitigate COVID-

      19. RFRA demands more.

             b. The defendants discharge neither of RFRA’s burdens.

             Identifying only the broadly articulated governmental interests and broadly ar-

      ticulated demands of military life, neither denial letter engages in any individualized

      assessment of Navy Commander’s or Lieutenant Colonel 2’s request. As the Novem-

      ber 22, 2021 order (Doc. 40 at 32) explains:

                     To accomplish the consideration required by RFRA, the military
                     certainly must consider, perhaps above all else, not whether
                     COVID adversely affects the force (or course it does) but whether
                     the readiness and fitness of the force is more adversely affected
                     (1) by granting exemptions and accommodations to a stated
                     number of sincere objectors or (2) by punishing, separating, and
                     discharging that same stated number of skilled and experienced
                     personnel, notwithstanding the time, energy, and money ex-
                     pended to train those service members and necessarily spent
                     again to locate, recruit, and train a successor, including the cost



                     The understanding and epidemiology of COVID-19 has shifted sub-
                     stantially over time with the emergence and circulation of new
                     SARS-CoV-2 variants, introduction of vaccines, and changing im-
                     munity as a result. Similar to the early period of this study, two previ-
                     ous U.S. studies found more protection from vaccination than from
                     previous infection during periods before Delta predominance (3,7).
                     As was observed in the present study after July, recent international
                     studies have also demonstrated increased protection in persons with
                     previous infection, with or without vaccination, relative to vaccina-
                     tion alone.

      Tomás M. León, et al., Ctrs. for Disease Control & Prevention, COVID-19 Cases and Hospitalizations
      by COVID-19 Vaccination Status and Previous COVID-19 Diagnosis—California and New York, May–No-
      vember 2021, 71 MMWR 125, 130 (Jan. 28, 2022), https://www.cdc.gov/mmwr/volumes/71/wr/
      pdfs/mm7104e1-H.pdf (internal citations and footnotes omitted).
                                                      - 38 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 39 of 48 PageID 7550



                   of the successors’ acquiring similar experience and the deficit in
                   fitness and readiness experienced in the interim.

      These factors might not present the best evaluation available or the only evaluation

      available or the most complete evaluation available, but these and other individual-

      ized factors seem pertinent and in all events seem better than dismissive generaliza-

      tion and recitation of policies and aspirations. Regardless, the Navy and the Marine

      Corps fail to “demonstrate” the individualized “to the person” analysis required

      when reviewing Navy Commander’s or Lieutenant Colonel 2’s request for a religious

      exemption. The defendants’ justifications for denying a religious accommodation to

      Navy Commander and Lieutenant Colonel 2 are elementally inadequate under

      RFRA.

            i. The defendants rely on a generalized assessment of the compelling
               interest.

            To justify the denial of Navy Commander’s and Lieutenant Colonel 2’s re-

      quest for a religious exemption, the Navy and Marine Corps assert that each denial

      supports the military’s compelling interest in “military readiness and health of the

      force.” But Davila, 777 F.3d at 1206, explains that “[military] officials cannot simply

      utter the magic words [‘military readiness and health of the force’] and as a result re-

      ceive unlimited deference from those of us charged with resolving the dispute.” The

      denial of these two religious exemptions removes from the service (1) a surface war-

      fare officer with seventeen years of experience, with several deployments, and with

      specialized training on nuclear engineering and whom the Navy entrusted to com-

      mand a destroyer with 320 personnel and (2) a Marine with twenty-four years

                                                 - 39 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 40 of 48 PageID 7551



      (eighteen of which as an officer) of experience in field operations and legislative af-

      fairs, in whom the Corps has invested substantial time and money (including a mas-

      ter’s degree from the Command and Staff College at the Marine Corps University),

      and whom the Corps selected to lead a combat logistics battalion. Absent record ma-

      terial demonstrating that the military considered both the marginal increase, if any,

      in the risk of contagion incurred by granting the requested exemption and the mar-

      ginal detrimental effect, if any, on military readiness and the health of the force flow-

      ing from the specific denial of Navy Commander’s and Lieutenant Colonel 2’s re-

      quest for religious exemption from COVID-19 vaccination, the government fails to

      demonstrate that either denial results from an individualized “to the person” evalua-

      tion required by RFRA. In other words, the government has not shown that the

      stated interest cannot be reasonably preserved without subjecting Navy Commander

      and Lieutenant Colonel 2 to vaccination contrary to a sincerely held religious belief

      protected by RFRA or, given a refusal to vaccinate, separating each from service.

            ii. The defendants rely on a generalized assessment of a less restrictive
                means.

            In each application, Navy Commander and Lieutenant Colonel 2 identify sev-

      eral alternative measures to mitigate the spread of COVID-19. For example, each

      applicant demonstrates the natural presence of COVID-19 antibodies following an

      infection. These antibodies, each applicant argues, provide similar if not equal (or

      better, according to the recent CDC report cited above) protection against infection

      with, and serious symptoms from, COVID-19. Further, each applicant describes the


                                                - 40 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 41 of 48 PageID 7552



      COVID-19 mitigation protocol — masking, social distancing, and isolation — that

      the Navy and the Marine Corps successfully implemented for more than a year be-

      fore the development of vaccines and have continued to implement in conjunction

      with vaccines.

            In response, the Navy and Marine Corps assert that the proposed alternatives

      “are less effective than vaccination” and “must be implemented in conjunction with

      immunization.” As with a compelling governmental interest, however, the defend-

      ants cannot rely on “magic words.” The defendants must demonstrate, with specific

      and reliable evidence, that the proposed alternative measures are insufficient to fur-

      ther — to an extent reasonably similar to vaccination — the military’s compelling

      governmental interest.

            Also, the military fails to consider other alternatives, such as altering the appli-

      cant’s practice in a manner that might further the military’s compelling interest with-

      out burdening the plaintiff’s religious exercise. For more than a year before the

      COVID-19 vaccination requirement, Navy Commander and Lieutenant Colonel 2

      performed their duties under altered conditions including remote work and isolation

      protocol. Further, after the defendants initiated the vaccination requirement, both

      plaintiffs have continued to work under an administrative exemption and under al-

      tered duties.

            In sum, the defendants fail to articulate why Navy Commander’s and Lieuten-

      ant Colonel 2’s sincerely held religious practice must yield to the requirement to ac-

      cept COVID-19 vaccination. The administrative record documenting the denial of

                                               - 41 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 42 of 48 PageID 7553



      both Navy Commander’s and Lieutenant Colonel 2’s request for religious exemption

      fails to evidence the required “to the person” evaluation of whether a less restrictive

      means is available to further the compelling governmental interest. Accordingly, on

      this record, Navy Commander and Lieutenant Colonel 2 enjoy a substantial likeli-

      hood of success on the merits.

              In accord with a February 13, 2022 order (Doc. 90), the Navy, the Marine

      Corps, and the Air Force submit (Docs. S-106, S-108, and S-109) the twenty-five

      most recent letters denying an appeal and submit every letter granting a religious ex-

      emption. The submission reveals a process of “rubber stamp” adjudication by form

      letter, a process incompatible with RFRA’s command to assess each request “to the

      person.”

              Although the form letter varies slightly by branch, each form letter contains

      the same general recitation of the military’s “compelling interest in . . . mission ac-

      complishment, military readiness, unit cohesion, good order, and discipline,

      and . . . health and safety.” (Doc. S-106) For example, each denial letter authored

      by the Navy announces that granting the exemption request “will have a direct and

      foreseeable negative impact on the compelling governmental interest in military read-

      iness and health of the force,” which each letter invariable supports with the conclu-

      sion:

                    Vaccination of Navy personnel can impact both individual and
                    unit mission accomplishment. It reduces the risk to the individ-
                    ual for disease-related performance impairment, and it reduces
                    the risk to the unit for disease outbreaks of contagious diseases
                    such as COVID-19.

                                                  - 42 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 43 of 48 PageID 7554



      (Doc. S-106) Next, each form denial letter identifies certain general characteristics of

      military life (such as the need to interact in close proximity) and of the specific appli-

      cant (most notably whether the applicant is attached to a deployable unit) that render

      impossible the continued implementation of COVID-19 mitigation measures. Fi-

      nally, each letter asserts generally that no lesser restrictive means exists because other

      COVID-19 mitigation efforts, such as masking and social distancing, “are not 100

      percent effective,” a statement equally true of vaccination. 11 (Doc. S-106)

             The letters granting an exemption yield nothing more. For example, in the

      Marine Corps, each grant letter contains the same boilerplate discussion of the Ma-

      rine Corps’ compelling interest in military readiness and the health and safety of the

      force and of the insufficiency of “masking, social distancing, hygiene, teleworking,

      and other similar measures.” But each grant concludes:

                     However, in your case, because you [either have begun termi-
                     nal leave, are currently participating in a Skill Bridge Program,
                     or otherwise will have no interaction with Marines before leav-
                     ing the Corps] I find the compelling interest of the government
                     and the likelihood of your vaccination status impacting readi-
                     ness, and the health of the force, remote. Therefore, I approve
                     your request until the date of the end of your active duty service




             11
                 For example, Department of Defense data discussed at the hearing and available on the
      department’s website show that between November 24, 2021, and December 22, 2021, the month
      during which vaccines became mandator, the “military total of new COVID-19 cases rose by 7,515
      cases but between December 22, 2021 and February 9, 2021, after vaccination was mandatory and
      after each branch reported greater than 90% vaccination rates, cases rose by 114,292 cases. Corona-
      virus: DOD Response, U.S. Dept. of Def., https://www.defense.gov/Spotlights/Coronavirus-DOD-
      Response/ (data as of Nov. 24, 2021, Dec. 22, 2021, and Feb. 9, 2022); see Oren Lieberman, US mili-
      tary has vaccinated more than 97% of service members, CNN Politics, Dec. 16, 2021,
      https://www.cnn.com/2021/12/16/politics/military-vaccine-numbers/index.html.
                                                    - 43 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 44 of 48 PageID 7555



                    obligation, which is [the day on which the applicant’s service
                    ends].

      (Doc. S-109-1) Thus, each grant letter differs only by the description of the appli-

      cant’s future service and by the day upon which the applicant’s service ends.

             As the defendants note, the fact that all “decision memoranda [are] simple

      form letters” does not automatically justify granting each request for a religious ex-

      emption. A blanket or categorical grant no more satisfies RFRA’s individualized as-

      sessment than does a blanket or categorical denial. Although only a sample of the

      hundreds of denial letters issued by the military, the documents considered in con-

      junction with the administrative record supporting Navy Commander’s and Lieuten-

      ant Colonel 2’s denial, strongly illustrates that the military fails to afford an applicant

      an actual “case-by-case assessment” as required by RFRA.

      B.     Irreparable harm

             “The loss of First Amendment freedoms, even for minimal periods of time un-

      questionably constitutes irreparable injury.” Roman Cath. Diocese of Brooklyn v.

      Cuomo, 141 S. Ct. 63, 68 (2020); Opulent Life Church v. City of Holly Springs, 697 F.3d

      279, 295 (5th Cir. 2012) (“This principle applies with equal force to the violation of

      RLUIPA rights because RLUIPA enforces First Amendment freedoms[.]”). As Air

      Force Officer v. Austin, 5:22-cv-0009-TES (M.D. Ga. Feb. 15, 2022), and U.S. Navy

      SEALs 1–26 v. Biden, --- F. Supp. 3d ---, 2022 WL 34443, at *1 (N.D. Tex. Jan. 3,

      2022) correctly recognize, the “substantial pressure” on a religiously objecting service

      member to obey the COVID-19 vaccination order and violate a sincerely held


                                                 - 44 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 45 of 48 PageID 7556



      religious belief constitutes an irreparable injury redressable by a preliminary injunc-

      tion. See also BST Holdings, L.L.C. v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021). Re-

      quiring a service member either to follow a direct order contrary to a sincerely held

      religious belief or to face immediate processing for separation or other punishment

      undoubtedly causes irreparable harm. Sambrano v. United Airlines, Inc., 19 F.4th 839,

      842 (5th Cir. 2021) (Ho, J., dissenting) (“To hypothesize that the earthly reward of

      monetary damages could compensate for these profound challenges of faith is to mis-

      understand the entire nature of religious conviction at its most foundational level.”)

      C.    Balance of the equities and the public interest

            Because Navy Commander and Lieutenant Colonel 2 request preliminary re-

      lief against officials of the federal government, the analysis on the balance of equities

      and the analysis on the public interest merge. Nken v. Holder, 556 U.S. 418, 435

      (2009). As the plaintiffs correctly argue, the public has no interest in tolerating even

      a minimal infringement on Free Exercise. See Hobby Lobby, 723 F.3d at 1147; Beck-

      with Elec. Co. v. Sebelius, 960 F. Supp. 2d 1328, 1350 (M.D. Fla. 2013). “The vindica-

      tion or constitutional rights and the enforcement of a federal statute serve the public

      interest almost by definition.” League of Women Voters of Fla. v. Browning, 863 F.

      Supp. 2d 1155, 1167 (N.D. Fla. 2012).

            In opposition, the defendants claim that preliminary relief “would encourage

      other members to attempt to bypass the military’s process and ask courts to enter

      similar injunctive relief, which ‘in the aggregate present the possibility of substantial

      disruption and diversion of military resources[.]’” (Doc. 74 at 36) (citing Parrish v.

                                                - 45 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 46 of 48 PageID 7557



      Brownlee, 335 F. Supp. 2d 661, 669 (E.D.N.C. 2004)). But no injury to the public re-

      sults from recognizing a person’s constitutional or statutory right or from “encourag-

      ing” a person to vindicate that right in federal court, especially when the statute cre-

      ating the right expressly authorizes such judicial vindication. Further, to the extent a

      “substantial disruption” results from the defendants’ systemic failure to assess a reli-

      gious exemption request “to the person,” the “harm” suffered by defendants results

      only from the defendants’ own failure to comply with RFRA. By enacting RFRA,

      Congress guaranteed each service member “appropriate relief ” from an infringement

      on the service member’s Free Exercise. To say the least, an attempted evasion of ju-

      dicial review strongly disserves the public interest. See 11A Charles Alan Wright, Ar-

      thur R. Miller & Mary Kay Kane, Federal Practice and Procedure § 2947 (3d ed.

      Apr. 2021 update) (“Although the fundamental fairness of preventing irremediable

      harm to a party is an important factor on a preliminary-injunction application, the

      most compelling reason in favor of entering a Rule 65(a) order is the need to prevent

      the judicial process from being rendered futile by defendant's action or refusal to

      act.”).

                For the past two years, Navy Commander and Lieutenant Colonel 2 ably dis-

      charged their duties. Each served at the onset of the pandemic and successfully dur-

      ing peak jeopardy in the pandemic and before any vaccination against COVID-19 ex-

      isted, each served during the height of the Delta variant surge, and each served (with

      the benefit of a temporary exemption from the vaccination requirement) during the

      Omicron variant. Nothing in the record establishes — on balance — that

                                                - 46 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 47 of 48 PageID 7558



      preliminary injunctive relief for these officers harms the public interest. Extending

      the status quo protects the fundamental right to Free Exercise and ensures judicial re-

      view of allegedly wrongful government action. The record fails to demonstrate any

      meaningful increment of harm to national defense likely to result because Navy

      Commander and Lieutenant Colonel 2’s continue to serve unvaccinated but in ac-

      cord with other, proven, rigorous, and successful safety protocols.

                                         CONCLUSION

            The record in this civil rights action reveals a substantial likelihood that the

      Navy and the Marine Corps has failed to discharge RFRA’s burden of demonstrating

      the required RFRA evaluation individualized “to the person” of Navy Commander

      and “to the person” of Lieutenant Colonel 2, each of whom harbor a sincere reli-

      gious belief substantially burdened by the military’s COVID-19 vaccination require-

      ment. The motion (Doc. 60) for preliminary injunctive relief by Navy Commander

      and Lieutenant Colonel 2 is GRANTED, and the defendants are PRELIMINAR-

      ILY ENJOINED (1) from enforcing against Navy Commander and Lieutenant

      Colonel 2 any order or regulation requiring COVID-19 vaccination and (2) from any

      adverse or retaliatory action against Navy Commander or Lieutenant Colonel 2 as a

      result of, arising from, or in conjunction with Navy Commander’s or Lieutenant

      Colonel 2’s requesting a religious exemption, appealing the denial of a request for a

      religious exemption, requesting reconsideration of the denial of a religious




                                               - 47 -
Case 8:21-cv-02429-SDM-TGW Document 111 Filed 02/18/22 Page 48 of 48 PageID 7559



      exemption, or pursuing this action or any other action for relief under RFRA or the

      First Amendment.

            ORDERED in Tampa, Florida, on February 18, 2022.




                                             - 48 -
